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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

RICHMOND DIVISION
UNITED STATES OF AMERICA
Case No. 3:23CR-79-DIN
v.
XAVIER LOPEZ,
Defendant.

STATEMENT OF FACTS

The parties stipulate that allegations contained in the Indictment and the following facts
are true and correct, and that had this matter gone to trial, the United States would have proven
each of them beyond a reasonable doubt.

1. At all times relevant to the Indictment and this Statement of Facts, the defendant,
XAVIER LOPEZ (LOPEZ) was a resident of Henrico County, Virginia, within the Eastern District
of Virginia and the jurisdiction of this Court.

2. The defendant was convicted of Felony Vandalism, in violation of Virginia Code §
18.2-137, in Henrico County Circuit Court on or about January 7, 2021. The defendant thereafter
knew and understood that he was legally prohibited from possessing either firearms or ammunition
because of this felony conviction.

3. On or about November 13, 2022, law enforcement officers conducted a search of
the defendant’s Henrico residence pursuant to a search warrant.

4. During that search, law enforcement officers recovered two different types of

ammunition—specifically, twenty-five (25) rounds of 9mm caliber ammunition, manufactured by

Hornady Manufacturing, Inc. in the State of Nebraska; and one (1) round of 7.62x39 caliber
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ammunition, manufactured in Russia. Both types of ammunition accordingly and necessarily
were shipped and transported in interstate and foreign commerce. The defendant knowingly
possessed these quantities of ammunition, understanding that he was legally prohibited from doing
so by virtue of his felony conviction.

5. Law enforcement officials also recovered eight (8) destructive devices, as that term
is defined at 18 U.S.C. § 5845(f), from the defendant’s residence and a shed on the defendant’s
property. These devices were of the sort commonly described as “Molotov cocktails.” The
defendant knowingly possessed these devices, and knew and understood the nature of these
devices, and that the devices consisted of a combination of parts designed and intended for use in
converting any device into a destructive device. These devices had not been registered to the
defendant in the National Firearms Registration and Transfer Record.

6. The actions taken by the defendant, as described above, were taken willfully and
knowingly. The defendant did not take those actions by accident, mistake, or with the belief that
they did not violate the law.

7. The preceding only includes those facts necessary to establish the defendant’s guilt
as to the offense to which he is entering a guilty plea. It does not necessarily reference all

information known to the government or the defendant about the criminal conduct at issue.

Respectfully submitted,

JESSICA D. ABER
UNITED STATES ATTORNEY

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By: bh di

Thomas A. Garnett
Peter S. Duffey
Assistant United States Attorneys

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After consulting with my attorney and pursuant to the plea agreement entered into this
day between myself and the United States, I stipulate that the above Statement of Facts is true
and accurate, and that had the matter proceeded to trial, the United States would have proved the
same beyond a reasonable doubt.

Xavier Lopez 7
Defendant

I am Xavier Lopez’s attorney. I have carefully reviewed the above Statement of Facts
with him. To my knowledge, his decision to stipulate to these facts is an informed and

voluntary one.

Nox»

Vaughan C. Jonés, Esquire
Counsel for Defendant

